             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                   CRIMINAL CASE NO. 1:09cr13-14


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                 ORDER
                            )
                            )
SULEMA VILLAGRANA LOPEZ. )
____________________________)



     THIS MATTER is before the Court on the Defendant’s Pro Se Motion

to Reduce Sentence pursuant to 18 U.S.C. §3582(c) [Doc. 693].

     On February 8, 2012, the Defendant, through court-appointed

counsel, filed a Motion for Reduction of Sentence pursuant to 18 U.S.C.

§3582(c)(2) [Doc. 618]. On March 6, 2012, the United States Probation

Office filed a Supplement to the Presentence Report pursuant to Crack

Cocaine Guideline Amendment 750 [Doc. 623]. The Government opposed

any reduction because, even after applying Amendment 750, the guideline

range remained the same as it was at the time of the Defendant’s

sentencing.   [Doc. 628].   For that reason Defendant is ineligible for a

reduction in his sentence pursuant to §3582(c)(2), and on June 6, 2012,



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this Court denied the Defendant’s motion. [Doc. 643]. The Defendant did

not file a notice of appeal from that ruling. Instead, on November 20, 2012,

more than five months later, the Defendant filed a second motion for a

reduction in sentence based on the same grounds as previously denied.

[Doc. 693].

     This motion is denied as moot. To the extent that the Defendant

intended the motion to be one to reconsider, no such motion is authorized

pursuant to the Federal Rules of Criminal Procedure or other statutory

provision in the sentencing context. United States v. Rashaad, ____ Fed.

App’x. ____, 2013 WL 730147 (4th Cir. 2013) (citing United States v.

Goodwyn, 596 F.3d 233, 235-36 (4th Cir.), cert. denied ____ U.S. ____,

130 S.Ct. 3530, 177 L.Ed.2d 1110 (2010)).

     IT IS, THEREFORE, ORDERED that the Defendant’s Pro Se Motion

to Reduce Sentence pursuant to 18 U.S.C. §3582(c) [Doc. 693] is hereby

DENIED.

                               Signed: May 10, 2013




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